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           UNITED STATES COURT OFAPPEALS
                FORTHE SECOND CIRCUIT
Mohamed John Akhtar, La Buca                   ..
                                                ..
Restaurant, Inc., DBA Swing 46                   ..
                                                  ..
Jazz and Supper Club,                              ..
                                                    ..
                                                     ..
                                                      ..
                                                                     Case No. 24-2370
                                                       ..
       Plaintiffs - Appellants,                         ..
                                                         ..
                                                          ..
                                                           ..
                                                            .
  v.

Eric Adams, Mayor of the City of
New York, Rohit T.
Aggarwala, New York City
Department of Environmental                              .
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                                                         .
                                                         .
Protection, Eric M. Eisenberg,                           ..
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                                                            ..
       Defendants - Appellees,                               .
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                                                              .
Jane Does 1-30, John Does 1-30,                               .
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               Defendants.                                      I
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                   AFFIRMATION QF SERVICE
      Anthony N. lannarelli Jr. an Attorney at Law of the State of New York,
affirms, under the penalty of perjury, to the truth of the following:

       1. represent plaintiffs-appellants in the above captioned matter.

       2. Supplement/Additional Service upon defendant-appellant Eric M.
          Eisenberg, was made by the packaging of two copies of Plaintiffs-
          Appellants' Brief and one copy of the Appendix, along wiN a Notice
          of Motion, and mailed postage paid on February 14, 2025, by U.S.
            c`55l8éInI Q21-§§7l6, `6'272'072'62'5,"D'll€tElh'ii9€°83'.1 ,°l95g"e"2 `6f 5




       Priority Mail, to defendant-appellant Eric M. Eisenberg, as has been
       identified through official documents as his New York address, and
       mailed to:
       Eric M. Eisenberg
       454 West 46"" Street
       Unit 1 ES
       New York, New York 10036

     3. The source of defendant-appellant's address was confirmed by two
       voter registration documents identifying a registered voter with the
       name Eric M. Eisenberg, and an address of 454 West 46 Street, 1 ES,
       New York, New York 10036-1003, attached as Exhibit 1.
     4. Corroboration by photographic evidence, of the documentary
       evidence in § 3 above, was obtained on February 1 1 , 2025 by
        personal appearance at the 454 West 46 Street location and by
       looking up the name Eric M. Eisenberg in the residential directory
       and pressing the button for the named individual. Exhibit2.



      affirm to the truth of me following made upon my knowledge and
     understand I can be subject to punishment for any statement
     intentionally made false.

Dated; February 20, 2025                                      »»1»----1---.

                                  Anthony N. lannarelli lr,
                              Attorney for pLaintiffs»appellants
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SKP 10 MNN CONTENI


                                             Poll Sile, Registration, and Mail Ballot information


                                             r Polling Place information

                                                 Early Voting Poll Site
                                             l
                                             g For Early Voting locations and times in your area, please follow this link
                                             I through to your County Board of Elecluons
                                                  (huns://findmvoollsite.vole.nvr:.l) website.
                                             I
                                                 Election Day Pull Situ

                                             1
                                                        Please click on the following link to find your polling place

                                                      https :/Itindmv Dollsite.vote.rwcI (hups:l/iindmvoollsite.voie.nvcI1

                                                                                                                             "~.
                                                 Voter information

                                                  Name : ElSENBERG, ERIC M
                                                  Address : 454 WEST 46 STREEY yEs, NEW YORK 10036-1003
                                                  Mailing Address (ii any) :
                                                   Political Party : Democratic
                                                   Voter Status : Active
                                                                                                                              'm
                                                  Voter District Information

                                                   Election District: 51
                                                   County Legislative District » 0
                                                   Senate District: 47
                                                   Assembly District: 75
                                                   Congressional District: 12
                                                   Town \ NEW YORK
                                                   Ward :



                                                  New Search




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                                                                                                             Exhibit 1

     httpszllvoterlookupnlectlons ,ny,g ov
                            Case: 24-2370, 02/20/2025, DktEntry: 83.1, Page 4 of 5
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         -co   nycvotersearch.corn  Case: 24-2370, 02/20/2025, DktEntry: 83.1, Page 4 of 5; G A                                      4
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      ©\ Registered Voter Search

      Personal Information
      Only voters registered In New York city voterswill be found In rhls system.
      Please enter your in'ormation exactfyas in appears on your voter record. Failure to do so may result in "Record Not Found".

      *All Fields Are Required

      First Name                                       Last Name                                        Birth Dale
       erii

      Borough
                                                         eisenberg

                                                       Zip Code
                                                                                                         401
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  Case: 24-2370, 0'2/20/§6é'§,"D1€f€nW~83f1;» page 5 of 5

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